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9
10
11                             UNITED STATES DISTRICT COURT

12                            CENTRAL DISTRICT OF CALIFORNIA

13
     THRIVE NATURAL CARE, INC.                   Case No. 2.20-cv-9091-PA-AS
14
                 Plaintiff,                      DECLARATION OF LISA ERTZ
15
           v.
16
     THRIVE CAUSEMETICS, INC.,
17
                 Defendant.
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                                    DECLARATION OF LISA ERTZ
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1           I, Lisa Ertz, declare and state as follows:
2           1.    I am the Executive Director of the Ertz Family Foundation. I have
3    personal knowledge of the facts stated in this declaration and if called as a witness, I
4    would and could testify as to them.
5           2.    I understand that Thrive Natural Care (“TNC”) has stated that it “worked
6    for months in 2019 to secure a partnership” with Julie and Zach Ertz to serve as brand
7    ambassadors for TNC, and that Julie and Zach “declined to pursue brand
8    ambassadorship” with TNC, at least in part, due to confusion between TNC and
9    Thrive Causemetics, Inc. (“TCI”). These statements are incorrect.
10          3.    I was connected with Alex McIntosh of TNC on June 19, 2019, and
11   spoke with him once or twice in late June and/or early July. While I recall that we
12   briefly discussed TCI in our initial conversation, I was not concerned about possible
13   confusion between TNC and TCI, and virtually all of our discussions related instead
14   to the mission of the Ertz Family Foundation and the work of TNC.
15          4.    I referred Mr. McIntosh to Julie and Zach’s agent, Steve Caric, on July 9,
16   2019, to consider whether the Ertz Family Foundation and TNC might partner
17   together. To the best of my recollection, I never discussed TCI or any possible
18   confusion between TNC and TCI with Mr. Caric. In any event, neither “possible
19   confusion” with TCI nor anything else having to do with TCI ever influenced any
20   decision that I or the Ertz Family Foundation made with respect to a partnership with
21   TNC.
22          5.    I understand that Mr. Caric considered TNC’s proposal for a partnership
23   with the Ertz Family Foundation and with Julie and Zach, and declined to move
24   forward with it in July 2019. To my knowledge, that decision had nothing to do with
25   TCI or any confusion with TCI. It was simply not a proposal that was of interest,
26   given the number of proposals that the Ertz Family Foundation and Julie and Zach
27   receive.
28          I declare under penalty of perjury under the laws of the United States that the

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                                      DECLARATION OF LISA ERTZ
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